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SS eS
Jackson Folice t * 327 East Pascagouls Stree!
Penrine Lp Post Diffice Box (7
ae Jackson, Mississippi 39205-0017

Chokwe Antar Lumumba
Mayor of the City of Jackson
March 6, 2019

James Davis

Chief of Palice

Jackson Police Department

327 E. Pascagoula Street

Jackson, MS 39205

Dear Chief Davis:

| am writing this letter to request to be re-instated by the Jackson Police Department, I have
enclosed my resume to provide a summary of my qualifications and background for your review.
Throughout my career, I have maintained the highest performance standards within the diverse
range of law enforcement functions which is clearly illustrated by my past successes, As a Crime
Scene Investigator | have extensive experience preparing factual investigative reports, basedon
policy, statutory authority and case law in response to legal inquiries, litigation, interrogatories
and other discovery procedures.
Further qualifications I offer include the following:

* Successful track record supporting the efforts of executive-level staff.

* Strong background in all aspects of communication,

* Demonstrated capacity to develop and maintain comprehensive administrative processes

that improve the efficiency of day-to-day operations.

With excellent organizational and communication skills, an outstanding work ethic, and the
ability to work well in both team-oriented, self-oriented and self-directed environments, | am
positioned to exceed your expectations. | would welcome an opportunity to méct with you to
discuss my qualifications and candidacy in further detail, Thank you for your time and
consideration,
Sincerely,

Pobat HM Gree

Robert M, Watts

Human Resource Specialist
Department of Justice

Office: 662.751.4800 Ext. 4267
Cell: 661.278.3866

Work Email: rmwatts@bop.gov
Home Email; rwatts1621@me.com

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Robert M. Watts - Fwd: Congratulations - Welcome to the Bureau of Prisons.

From: Robert Watts <rwatts1621@me.com>

To:
Date:

FCC Yazoo Medium <rmwatts@bop,gov>
7/16/2020 6:32 PM

Subject: Fwd; Congratulations - Welcome to the Bureau of Prisons.
Attachments: scan_0001.pdf

Begin forwarded message:

From: "Rebecca M. Jackson" <rm2jackson@bop,qov>
Subject: Congratulations - Welcome to the Bureau of Prisons.

Date: October 13, 2016 at 11:36:57 AM EDT
To: rwatts1621@me.com

Congratulations - Welcome to the Bureau of Prisons. Zz ——

REPORT DATE: October 31, 2016 @ 7:30 4.m.

PLEASE BRING TWO FORMS OF IDENTIFICATION ~ (DL, SSN, BIRTH CERT. AND/OR PASSPORT)
Please dress business casual, No jeans, gym shoes, open toed sandals, sweat pants, etc,

You will report to the Staff Training Center, which Is the second bullding on your left once you
turn on the Institution grounds,

Piease respond to this email if you accept and/or decline this Offer.

"NOTE" - ANY CHANGES TO YOUR BACKGROUND (SUCH AS AN ARREST, FINANCIAL
DEFAULTS, DRUG USE, WORK HISTORY, DISCIPLINARY ACTION, ECT) MUST BE
REPORTED TO HUMAN RESOURCES PRIOR TO YOUR ENTRY ON DUTY DATE.

Rebecca Jackson

Human Resources Specialist
2225 Haley Barbour Parkway
Yazoo City, MS 39194
PH:(662)751-4800 ext. 4264
Fax:{662)751-4967

sh Please don't print this e-mail unless it’s necessary

file:///C:/Users/BOPS9603/AppData/Local/Temp/XPgrpwise/SF 109DS2NYMDOMINYM... 7/17/2020
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kEGE Form 5 (1 1/09)

Agencyties) Charge

CHARGE OF DISCRIMINATION Charge Presented To: yay.)
this-form is.affected by the Privacy Act of 1974. See enclosed Privacy Act || FEPA
Statement andl other information before cornpieting Uistorm
EEOC 423-2020-00575
null and EEOC

State or local Agency. ifany

Year of Bulli

1984

Home Prone

(601) 278-3866

Name (indicate Mr, Ats, Mex.)

MR, ROBERT M WATTS

Street Address City, Stete snd ZiP Code

1871 TV RD, JACKSON, MS 39204

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Loca! Gavernment Agency
That | Selieve Biscrimineted Against Me or Others. (/f more thar two, 'st under PARTICULARS below.)

Name No Friployres, Members Phoaie NO
CITY OF JACKSON 501+ (601) 960-1234
Street Address City Stare and Zi Code

327 WEST PASCAGOULA STREET, JACKSON, MS 39204

Name No Employers, Members Phone No

Strect Addrass Cay; State ang ZIP Code

DISCRIMINATION BASED ON (Check appropiate box/es}) DATE(S) DISCRIMINATION TOOK PLACE
Farliest Latest

RACE [J COLGA SEX [| RELIGION [| NATIONAL ORIGIN 10-04-2019 01-19-2020

RETALIATION [J AGE ii DISABILITY [| GENETIC INFORMATION

[| OTHER (Specify) [| CONTINGING:ACIION
THE PARTICULASS AHKE (if additiong! paper is needed, dtiach extra sheet{a)):
| was Initially hired In February 2006 as a Patrol Officer. | voluntarily resigned on November 14, 2016. |
resigned In good standing. Within the last six months and as recent as October 4, 2019 | have been
seeking employment as a Patrol Officer and | have not been hired.

The Chief of Police Informed me in October 2019 that he had signed off on the paperwork for my hiring.

| belleve | am being discriminated against because of my race (White) in violation of Title Vil of The Civil
Rights Act of 1964 as amended.

| am aware that the agency has hired approximately 30 employees within the last six months. in
addition, approximately five to ten employees have been rehired within the last six months and upon
information and bellef all rehires are Black, Most recently, a Black male was rehired as of January 19,
2020, | am more than qualified to the position of Patrol Officer and the agency continues to hire less
qualified Patrol Officers.

| want this charge filed with both the FEGC and the State or tocel Agency.
\feny. |.will advise the agencies if | change my address or phone number
and | will cooperate fully with them in the processing of my charge in
accordsnce with ther procedures. | swear or affirm that | have read the above charge and that it
| daclare under penalty of perjury that the above Is true and correct, is true to the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

NOTARY = When aecessary for State 2nd Loca’ Agency Requirements

(month, day, VERA

Digitally signed by Robert Watts on 01-22-2020 10:26 AM SUBSCRIBED ANID SWORN TO BEFORE MF THIS DATE
EST

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BEFORE THE UNITED STATES EQUAL EMPLOYMENT

OPPORTUNITY COMMISSION
ROBERT WATTS JR. CHARGING PARTY
VERSUS CHARGE # 423-2020-00575
CITY OF JACKSON RESPONDING PARTY

POSITION STATEMENT AND RESPONSE TO CHARGE

Comes now the City of Jackson by and through the undersigned attomey and responds to
the referenced charge as follows:
Allegation # 1: The Charging Party alleges that he was initially hired in February 2006 us a
patrol officer and voluntarily resigned on November 14, 2016.
Response: The Responding Party admits that the Charging Party was initially hired on of about
February 9, 2006 us a patrol officer. The Responding Party submitted a letter of resignation on or
about September 26, 2016 for an effective date of November 11,2016, A copy of the documents
reluted to the Charging Party's resignation is attached as Exhibit 1. At the time of the
submission of the letter of resignation, the Charging Party was the subject of an internal Affairs
Investigation concerning conduct exhibited with a dispatcher, The Charging Party resigned prior
to the conclusion of the investigation and before disciplinary action. Documentation concerning
the investigation and findings is attached as Exhibit 2.
Allegation # 2: The Charging Party alleges that the Chief of Police informed him in October
2019 that he had signed off on the paperwork for his hiring.
Response: James Davis, the Chief of Police for the City of Jackson states he saw-and spoke to

Robert Watts Jr., at the end of September 2019, Chief Davis states that an interest in returning ta
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Charging Party: Robert Watts Jr.

Responding Party: City of Jackson

Charge # 423-2020-00575

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the Jackson Police Department was expressed, and he advised him to apply for a position by
submitting his resume or application to the Jackson Police Department's personnel website. A
statement written by Chief Davis is attached as Exhibit 3.

The Charging Party wrote a letter to James Davis on October 4, 2019 and included his
resume, A copy of the letter is attached as Exhibit 4, Subsequent to receipt of the Charging
Party's letter and resume, an investigation of the Charging Party's background and personne!
record was conducted. On November |, 2019, the Charging Party was sent a letter advising that
further consideration was denied. A copy of the letter is attached as Exhibit 5,

Allegation # 3: The Charging alleges that he believes he is being discriminated against becuuse
of his race (White) in violation of Title VII of the Civil Rights Act of 1964 because the-agency
has hired approximately 30 employees within the last six (6) months and five to ten employees
were rehired within the last six months and upon information all rehires are Black.

Response: The Responding Party denies the allegation and states that from July 2019 through
January 14, 2020, there were six (6) hires. Three of the hires were white males, The list
provided by the Department of Personnel Management's Equal Employment Opportunity Officer
Tamurra Bowie (Black fernule) is attached as Exhibit 6.

The Responding Party denies that race was u factor in its decision not to rehire the
Charging Party, The Charging Party's request for rehire was subject to the usual background
investigation and review of personnel records, Based upon the investigation and/or review of

personnel record, the Chief Davis determined that rehire would not be prudent und serve the

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Charging Party; Robert Watts Jr.
Responding Party: City of Jackson
Charge # 423-2020-00575
Page 3
best interest of the Depurtment. The Charging Party's disciplinary history included the issuance
of a counseling form, multiple reprimands, and a'suspension, Moreover, the Charging Party did
not terminate in good standing because there was-a pending Internal Affairs investigation. A
copy of documents related to the Charging Party's discipline is attached as Exhibit 7.
CONCLUSION
The City of Jackson is an equal opportunity employer-and docs not discriminate against

individuais on the basis of race, sex, age, national origin, disability or other protectea

classifications, The Charging Party's allegation of discrimination are false.

Respectfully submitied,
The City of Jackson
- By: /s/ Carrie Johnson
Deputy City Attomey
Office of the City Attorney
Post Office Box 2779
Jackson MS 39207-2779

Telephone; 601-960-1799
Facsimile: 601-960-1756
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Before the united states equal employment opportunity commission

Robert Wetts Jr Charging Party

Versus Charge # 423-3030-00575

City of Jackson Responding Party
Position Statement

Allegation#4: The city stated | wes under investigation at the time of my resignetion

Response: | applied for the Federal Bureay of Prisons In the start of 2016. | was sent an Inquiry of
Availability on August 26, 2016 which Is attached ws Exhibit 1, | wes given a final offer of employment on
September 26, 2016 which Is attached as Exhibit 2. | was unaware | was under any Investigation at the
time of my resignation. | was also able to obtain and keep a federal security clearance with the
Department of Justice which | still hold at the time of this response.

Allegation #2: The city states | did not-spply to JPD until October 4, 2019 and James Davis advised me to
apply online.

Response; The city steted that ! sent a reinstatement letter an October 4, 2019 which Is true but it was
not the first time | had requested to return to JPO. See Exhibit 3. Another reinstatement letter was sent
on March 14, 2019. See Exhibit 4. Tine Wallace sent an email March 14, 2025 to confirm she received
my reinstatement letter. See Exhibit 5. After) sent the March 14, 2029 letter | was interviewed,
completed a Physical, UA and polygraph. Ouring the interview | decided NOT to take the job with JPD. In
September | saw James Oavis at the JPD Police Treining Academy and he asked when | was starting
because he had signed off on my paperwork, He was unaware | had | turned dewn the job during the
Interview. Due to the fact | loveJPD and lew enforcement after speaking with James Davis at the
Academy | sent.another reinstatement letter to James Davis on October 4, 2016. See Exhibit 6. This

alieged Investigation with a dispatcher is false and an attempt to cover the real reason of the city
discriminating against white applicants.

Allegation #3; The city alleges they only hired six (6) new hires from July 2019 through Jenuary 14, 2020
and three (3) of these hires were white,

Response: On August 4, 2019 the City of Jackson-started the 58” Police Recrult Academy class. August
would be the class members start date for JPD which is within the July 2029 through January 14, 2020
time frame the city provided. The 58° Recruit Class graduated on November 22, 2019 with fourteen (14)
officers, See Exhibit 7, This class. graduated with no white officers. The city started the 5S Pallce
Recruit Academy Class on September 29, 2019. September 29, 2019 would be the class members start
date which is within the provided time frame the city provided as to hiring six new officers. The 59"
Police Recruit Academy gradusted on Jenuary 17, 2020 with ten {10) police officers. See Exhiblt'8. This
class graduated with no white officers. When | left JPD | requested my entire personal file, See Exhibit 9.
| had three-reprimands, not muitiple-zs the city states, | Nad one suspension fora motor vehicle
accident.

Mee Meee IOUT NO VOLUITEML L-Ls FHEG LZ/U//20 Page 2 of 9
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Before the united states equal employment opportunity commission

Robert Watts Jr Charging Party

Versus Charge # 423-3030-00575

City of jackson Responding Party
Position Statement

Conclusion; The pending internal Affairs investigation is false and blatant attempt to cover up the fact
they are discriminating egainst white applicants. The city’s responses are mostly false and the diversity
of JPD does not represent the city H-serves, At the time of this response JPD currently employs
approximately 350 officers with spproximately 15 white officers on the force. White officer represent
4.29% of JPD, At the time of the 2010 cansus the City of jackson racial makeup was 79% black, 18%
white. The racial makeup of JPO hasa large disparity compared to the city’s racial makeup.

Resoecttully submitted,

42 (well

Robert M. Watts
Telephone: 601-278-3866

Email: rnwsttsi621@me.com
